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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

E. N. BISSO & SON, INC. * CIVIL ACTION
VERSUS * NO. 19-cev-14765
M/V BOUCHARD GIRLS, her tackle, * SECTION “”D” (3)
Furniture, apparel, appurtenances, efc. in
rem, and the Barge B. NO. 295, her tackle, * JUDGE VITTER
. Furniture, apparel, appurtenances, efc. in
rem and BOUCHARD TRANSPORTATION  * MAGISTRATE DOUGLAS

CO., INC. in personam

AFFIDAVIT/CERTIFICATE OF SERVICE
STATE OF LOUISIANA
PARISH OF ORLEANS
BEFORE ME, the undersigned authority, personally came and appeared:
ROBERT H. MURPHY
who, after being duly sworn, did depose and say that:

1. He is counsel of record for the Defendants in this civil action, Bouchard
Transportation Co., Inc., in personam, Tug BOUCHARD GIRLS Corp., as owner of the M/V
BOUCHARD GIRLS, in rem, making a restricted appearance pursuant to Rule E(8) of the
Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions of the
Federal Rules of Civil Procedure, and B. No. 295 Corp., as owner of the Barge B No. 295, in
rem, making a restricted appearance pursuant to Rule E(8) of the Supplemental Rules for
Admiralty or Maritime Claims and Asset Forfeiture Actions of the Federal Rules of Civil

Procedure.
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2. That he certifies he notified the Defendants through their representative, Morton
S. Bouchard IU, by email at MSB111@bouchardtransport.com on June 10, 2020 that Robert H.
Murphy and Timothy D. DePaula and Murphy, Rogers, Sloss, Gambel & Tompkins (collectively
“Murphy Rogers”), counsel of record for the Defendants, intended to withdraw as counsel of
record for the Defendants in this litigation for reasons Murphy Rogers maintains are consistent
with the Louisiana Rules of Professional Conduct Rule 1.16(b).

3. That he certifies he complied with Local Rule 83.2.11 of the Eastern District of
Louisiana by providing notice in writing of Murphy Rogers’ withdrawal as counsel of record to
Defendants by letter dated June 10, 2020 sent via Certified Mail, with Return Receipt Requested,
addressed to 58 South Service Road, Ste. 150, Melville, NY 11757, and this letter also was
attached to an email sent to the Defendants’ representative, Mr. Bouchard, on June 11, 2020 at
the following address: MSB111@bouchardtransport.com. The telephone number for the
Defendants is (516) 721-7522.

4. That he further certifies that the June 10, 2020 letter, which was sent to the
Defendants’ representative by Certified Mail and by email on June 11, 2020, listed the upcoming
Court deadlines and attached a copy of the Court’s March 20,2020 Scheduling Order, the Court’s
June 9, 2020 Order on various Wells Fargo Motions, and Murphy Rogers’ Ex Parte Motion To
Withdraw As Counsel Of Record and Order

5. That all counsel of record have been notified of the foregoing matters pursuant to

the Court’s CM/ECF system.
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New Orleans, Louisiana, this 11" day of June 2020.

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ROBERT H. MURPHY

 

 

SWORN TO AND SUBSCRIBED
BEFORE ME, THIS 11th DAY OF
JUNE, 2020.

“NOTARY PUBL, (d,% Bago. 17142)
Attorney at Law & Notary Public
PETE tate of Louisiana

Oulsiana Bar Roll No. 17142
Notarial Commission is for Life

    

Lad
